Case No. 1:20-cr-00305-DDD      Document 205    filed 05/20/22   USDC Colorado   pg 1
                                         of 3




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD
 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

      1. Michael Aaron Tew,
      2. Kimberley Ann Tew, and
      3. Jonathan K. Yioulos,

      Defendants.
 ________________________________________________________________

                       MOTION TO WITHDRAW
 ________________________________________________________________

        The United States of America, by Cole Finegan, United States Attorney for

 the District of Colorado, through Andrea Surratt, Assistant United States

 Attorney, hereby files its Motion to Withdraw as counsel of record and requests

 termination of electronic service in the above-captioned case. As grounds for

 this motion, the government states that AUSAs Bryan Fields and Albert Buchman

 are counsel of record in this case, have filed entry of appearances, and are

 receiving electronic notice.

        Dated this 20th day of May 2022.




                                           1
Case No. 1:20-cr-00305-DDD   Document 205    filed 05/20/22   USDC Colorado   pg 2
                                      of 3




                                     Respectfully submitted,

                                     COLE FINEGAN
                                     United States Attorney


                                     By: s/Andrea Surratt
                                     Andrea Surratt
                                     Assistant United States Attorney
                                     United States Attorney’s Office
                                     1801 California Street, #1600
                                     Denver, Colorado 80202
                                     Telephone: (303) 454-0100
                                     FAX: (303) 454-0401
                                     E-mail: Andrea.Surratt@usdoj.gov
                                     Attorney for the United States




                                       2
Case No. 1:20-cr-00305-DDD     Document 205      filed 05/20/22   USDC Colorado         pg 3
                                        of 3




                            CERTIFICATE OF SERVICE

       I hereby certify that on this 20th day of May 2022, I electronically filed the
 foregoing MOTION TO WITHDRAW with the Clerk of the Court using the
 CM/ECF system which will send notification to all parties of record.




                                         By: s/Portia Peter
                                         Portia Peter
                                         Legal Assistant
                                         United States Attorney’s Office
                                         1801 California Street, #1600
                                         Denver, Colorado 80202




                                            3
